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UNITED sTATEs DIsTRICT COURT

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UNITED sTATEs oF AMERICA WID OF m MM
-vs- 1 Case No. 2:05cr20260-001Ml

CHAD JOHNSON

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGf PURSUANT TO
BAIL REFORM ACT

Upon motion of the Govennnent, it is ORDERED that a detention hearing is set for
TUESDAY, JULY 26, 2005 at 3 :00 P.M. before United States Magistrate Judge Diane K. Vescovo
in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing

Date: July21,2005 /-
. /A

S. THOMAS ANDERSON
UNITED S'I`ATES MAGISTRATE JUDGE

 

lIf riot held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(1)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(1) are present. Subsection (1) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justiee, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or j uror.

AO 470 (8¢'85) Order of Temporary Detent|on

This document entered on the docket sheet ;n co;ipllance
With Ru\e 55 and/or 32(b) FFiCrP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-20260 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listedl

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

